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                        EXHIBIT 2
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                                                         Tourism

Tourism means businesses which provide services such as attracting, transporting, accommodating or
catering to the needs or wants of persons traveling to, or staying in, places outside their home
community. Therefore, if you are in one of the following businesses or work for such a business, you are
in the Tourism Industry.1

         447110 - Gasoline Stations with Convenience Stores
             This industry comprises establishments engaged in retailing automotive fuels (e.g., diesel fuel,
             gasohol, gasoline) in combination with convenience store or food mart items. These
             establishments can either be in a convenience store (i.e., food mart) setting or a gasoline station
             setting. These establishments may also provide automotive repair services.
                         Convenience food with gasoline stations
                         Gasoline stations with convenience stores
                         Gasoline with convenience stores
         447190 - Other Gasoline Stations
             This industry comprises establishments known as gasoline stations (except those with
             convenience stores) primarily engaged in one of the following: (1) retailing automotive fuels
             (e.g., diesel fuel, gasohol, gasoline) or (2) retailing these fuels in combination with activities, such
             as providing repair services; selling automotive oils, replacement parts, and accessories; and/or
             providing food services.
                         Gasoline stations without convenience stores
                         Marine service stations
                         Service stations, gasoline
                         Truck stops
         448110 - Men's Clothing Stores
             This industry comprises establishments primarily engaged in retailing a general line of new men's
             and boys' clothing. These establishments may provide basic alterations, such as hemming, taking
             in or letting out seams, or lengthening or shortening sleeves.
                         Apparel stores, men's and boys' clothing
                         Clothing stores, men's and boys'
         448120 - Women's Clothing Stores
             This industry comprises establishments primarily engaged in retailing a general line of new
             women's, misses'; and juniors' clothing, including maternity wear. These establishments may
             provide basic alterations, such as hemming, taking in or letting out seams, or lengthening or
             shortening sleeves.
                         Apparel stores, women's and girls' clothing
                         Clothing stores, women's and girls'
                         Maternity shops
         448130 - Children's and Infants' Clothing Stores
             This industry comprises establishments primarily engaged in retailing a general line of new
             children's and infants' clothing. These establishments may provide basic alterations, such as
             hemming, taking in or letting out seams, or lengthening or shortening sleeves.
                          Apparel stores, children's and infants' clothing
                          Baby clothing shops
                          Clothing stores, children's and infants'

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    This Tourism Definition substitutes for the Tourism Definition previously at Bates 026632 - 026646.

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  448140 - Family Clothing Stores
      This industry comprises establishments primarily engaged in retailing a general line of new
      clothing for men, women, and children, without specializing in sales for an individual gender or
      age group. These establishments may provide basic alterations, such as hemming, taking in or
      letting out seams, or lengthening or shortening sleeves.
                  Clothing stores, family
                  Family clothing stores
                  Unisex clothing stores
                  Western wear stores
  448150 - Clothing Accessories Stores
      This industry comprises establishments primarily engaged in retailing single or combination lines
      of new clothing accessories, such as hats and caps, costume jewelry, gloves, handbags, ties, wigs,
      toupees, and belts.
                  Apparel accessory stores
                  Clothing accessories stores
                  Costume jewelry stores
                  Furnishings stores, men's and boys'
                  Furnishings stores, women's and girls'
                  Handbag stores
                  Hat and cap stores
                  Jewelry stores, costume
                  Neckwear stores
                  Tie shops
                  Wig and hairpiece stores
  448190 - Other Clothing Stores
      This industry comprises establishments primarily engaged in retailing specialized lines of new
      clothing (except general lines of men's, women's, children's, infants', and family clothing). These
      establishments may provide basic alterations, such as hemming, taking in or letting out seams,
      or lengthening or shortening sleeves.
                  Bridal gown shops (except custom)
                  Coat stores
                  Costume stores (including theatrical)
                  Dress shops
                  Fur apparel stores
                  Furriers
                  Hosiery stores
                  Leather coat stores
                  Lingerie stores
                  School uniform stores
                  Swimwear stores
                  T-shirt shops, custom printed
                  Uniform stores (except athletic)
  451110 - Sporting Goods Stores
      This industry comprises establishments primarily engaged in retailing new sporting goods, such
      as bicycles and bicycle parts; camping equipment; exercise and fitness equipment; athletic
      uniforms; specialty sports footwear; and sporting goods, equipment, and accessories.
                  Athletic equipment and supply stores (including uniforms)
                  Bicycle (except motorized) shops
                  Bowling equipment and supply stores
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                  Diving equipment stores
                  Exercise equipment stores
                  Fishing supply stores (e.g., bait)
                  Footwear (e.g., bowling, golf, spiked), specialty sports, stores
                  Golf pro shops
                  Gun shops
                  Outdoor sporting equipment stores
                  Pro shops (e.g., golf, skiing, tennis)
                  Saddlery stores
                  Shoe stores, specialty sports footwear (e.g., bowling, golf, spiked)
                  Sporting goods stores
                  Sports gear stores (e.g., outdoors, scuba, skiing)
                  Tack shops
                  Tackle shops (i.e., fishing)
                  Uniform stores, athletic
  452111 - Department Stores (except Discount Department Stores)
      This U.S. industry comprises establishments known as department stores that have separate
      departments for various merchandise lines, such as apparel, jewelry, home furnishings, and
      linens, each with separate cash registers and sales associates. Department stores in this industry
      generally do not have central customer checkout and cash register facilities.
                  Department stores (except discount department stores)
  452990 - All Other General Merchandise Stores
      This industry comprises establishments primarily engaged in retailing new goods in general
      merchandise stores (except department stores, warehouse clubs, superstores, and
      supercenters). These establishments retail a general line of new merchandise, such as apparel,
      automotive parts, dry goods, hardware, groceries, housewares or home furnishings, and other
      lines in limited amounts, with none of the lines predominating.
                  Catalog showrooms, general merchandise (except catalog mail-order)
                  Dollar stores
                  General stores
                  Home and auto supply stores
                  Limited price variety stores
                  Trading posts, general merchandise
                  Variety stores
  453220 - Gift, Novelty, and Souvenir Stores
      This industry comprises establishments primarily engaged in retailing new gifts, novelty
      merchandise, souvenirs, greeting cards, seasonal and holiday decorations, and curios.
                  Balloon shops
                  Card shops, greeting
                  Christmas stores
                  Collectible gift shops (e.g., crystal, pewter, porcelain)
                  Craft (except craft supply) stores
                  Curio shops
                  Gift shops
                  Gift stands, permanent location
                  Greeting card shops
                  Novelty shops
                  Party goods (e.g., paper supplies, decorations, novelties) stores
                  Seasonal and holiday decoration stores

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                  Souvenir shops
  481111 - Scheduled Passenger Air Transportation
      This U.S. industry comprises establishments primarily engaged in providing air transportation of
      passengers or passengers and freight over regular routes and on regular schedules.
      Establishments in this industry operate flights even if partially loaded. Scheduled air passenger
      carriers including commuter and helicopter carriers (except scenic and sightseeing) are included
      in this industry.
                  Air commuter carriers, scheduled
                  Air passenger carriers, scheduled
                  Commuter air carriers, scheduled
                  Helicopter passenger carriers, scheduled
                  Passenger air transportation, scheduled
                  Passenger carriers, air, scheduled
                  Scheduled air passenger carriers
                  Scheduled air passenger transportation
  485310 - Taxi Service
      This industry comprises establishments primarily engaged in providing passenger transportation
      by automobile or van, not operated over regular routes and on regular schedules.
      Establishments of taxicab owner/operators, taxicab fleet operators, or taxicab organizations are
      included in this industry.
                  Cab (i.e., taxi) services
                  Taxicab dispatch services
                  Taxicab fleet operators
                  Taxicab organizations
                  Taxicab owner-operators
                  Taxicab services
  487110 - Scenic and Sightseeing Transportation, Land
      This industry comprises establishments primarily engaged in providing scenic and sightseeing
      transportation on land, such as sightseeing buses and trolleys, steam train excursions, and horse-
      drawn sightseeing rides. The services provided are usually local and involve same-day return to
      place of origin.
                  Buses, scenic and sightseeing operation
                  Cable car, land, scenic and sightseeing operation
                  Carriage, horse-drawn, operation
                  Cog railway, scenic and sightseeing, operation
                  Horse-drawn carriage operation
                  Monorail, scenic and sightseeing, operation
                  Railroad transportation, scenic and sightseeing
                  Railroad, scenic and sightseeing, operation
                  Railway transportation, scenic and sightseeing
                  Scenic and sightseeing excursions, land
                  Sightseeing bus operation
                  Sightseeing operation, human-drawn vehicle
                  Steam train excursions
                  Tour bus, scenic and sightseeing, operation
                  Tracked vehicle sightseeing operation
                  Trolley, scenic and sightseeing, operation



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  487210 - Scenic and Sightseeing Transportation, Water
      This industry comprises establishments primarily engaged in providing scenic and sightseeing
      transportation on water, with the exception that Charter Fishing, as defined in the Settlement
      Agreement, is excluded from this Tourism definition. The services provided are usually local and
      involve same-day return to place of origin.
                  Airboat (i.e., swamp buggy) operation
                  Dinner cruises
                  Excursion boat operation
                  Harbor sightseeing tours
                  Hovercraft sightseeing operation
                  Scenic and sightseeing excursions, water
                  Sightseeing boat operation
                  Swamp buggy operation
                  Whale watching excursions
  487990 - Scenic and Sightseeing Transportation, Other
      This industry comprises establishments primarily engaged in providing scenic and sightseeing
      transportation (except on land and water). The services provided are usually local and involve
      same-day return to place of departure.
                  Aerial cable car, scenic and sightseeing, operation
                  Aerial tramway, scenic and sightseeing, operation
                  Glider excursions
                  Helicopter ride, scenic and sightseeing, operation
                  Hot air balloon ride, scenic and sightseeing, operation
                  Scenic and sightseeing excursions, aerial
                  Tramway, aerial, scenic and sightseeing operation
  532111 - Passenger Car Rental
      This industry comprises establishments primarily engaged in renting passenger cars without
      drivers, generally for short periods of time.
                  Automobile rental
                  Car rental
                  Car rental agencies
                  Hearse rental
                  Limousine rental without driver
                  Luxury automobile rental
                  Passenger car rental
                  Passenger van rental
                  Passenger van rental agencies
                  Sport utility vehicle rental
                  Van (passenger) rental
  532292 - Recreational Goods Rental
      This U.S. industry comprises establishments primarily engaged in renting recreational goods,
      such as bicycles, canoes, motorcycles, skis, sailboats, beach chairs, and beach umbrellas.
                  Beach chair rental
                  Beach umbrella rental
                  Bicycle rental
                  Boat rental, pleasure
                  Canoe rental
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                   Exercise equipment rental
                   Golf cart rental
                   Houseboat rental
                   Moped rental
                   Motorcycle rental
                   Personal watercraft rental
                   Pleasure boat rental
                   Recreational goods rental
                   Rowboat rental
                   Sailboat rental
                   Ski equipment rental
                   Snow ski equipment rental
                   Sporting goods rental
                   Sports equipment rental
                   Surfboard rental
                   Tent, camping, rental
                   Water ski rental
                   Yacht rental without crew
  561520 - Tour Operators
      This industry comprises establishments primarily engaged in arranging and assembling tours. The
      tours are sold through travel agencies or tour operators. Travel or wholesale tour operators are
      included in this industry.
                   Tour operators (i.e., arranging and assembling tours)
                   Travel tour operators
                   Wholesale tour operators
  561599 - All Other Travel Arrangement and Reservation Services
      This U.S. industry comprises establishments (except travel agencies, tour operators, and
      convention and visitors bureaus) primarily engaged in providing travel arrangement and
      reservation services. Illustrative Examples: Condominium time-share exchange services Ticket
      (e.g., airline, bus, cruise ship, sports, theatrical) offices Reservation (e.g., airline, car rental, hotel,
      restaurant) services Ticket (e.g., amusement, sports, theatrical) agencies Road and travel
      services automobile clubs.
                   Airline reservation services
                   Airline ticket offices
                   Automobile clubs, road and travel services
                   Bus ticket offices
                   Car rental reservation services
                   Condominium time share exchange services
                   Cruise ship ticket offices
                   Hotel reservation services
                   Motor travel clubs
                   Railroad ticket offices
                   Reservation (e.g., airline, car rental, hotel, restaurant) services
                   Sports ticket offices
                   Theatrical ticket offices
                   Ticket (e.g., airline, bus, cruise ship, sports, theatrical) offices
                   Ticket (e.g., airline, bus, cruise ship, sports, theatrical) sales offices
                   Ticket (e.g., amusement, sports, theatrical) agencies
                   Ticket (e.g., amusement, sports, theatrical) sales agencies

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                  Ticket agencies, amusement
                  Ticket agencies, sports
                  Ticket agencies, theatrical
                  Ticket offices for foreign cruise ship companies
                  Time share exchange services, condominium
  711211 - Sports Teams and Clubs
      This U.S. industry comprises professional or semiprofessional sports teams or clubs primarily
      engaged in participating in live sporting events, such as baseball, basketball, football, hockey,
      soccer, and jai alai games, before a paying audience. These establishments may or may not
      operate their own arena, stadium, or other facility for presenting these events.
                  Baseball clubs, professional or semiprofessional
                  Baseball teams, professional or semiprofessional
                  Basketball clubs, professional or semiprofessional
                  Basketball teams, professional or semiprofessional
                  Boxing clubs, professional or semiprofessional
                  Football clubs, professional or semiprofessional
                  Football teams, professional or semiprofessional
                  Hockey clubs, professional or semiprofessional
                  Hockey teams, professional or semiprofessional
                  Ice hockey clubs, professional or semiprofessional
                  Jai alai teams, professional or semiprofessional
                  Major league baseball clubs
                  Minor league baseball clubs
                  Professional baseball clubs
                  Professional football clubs
                  Professional sports clubs
                  Roller hockey clubs, professional or semiprofessional
                  Semiprofessional baseball clubs
                  Semiprofessional football clubs
                  Semiprofessional sports clubs
                  Soccer clubs, professional or semiprofessional
                  Soccer teams, professional or semiprofessional
                  Sports clubs, professional or semiprofessional
                  Sports teams, professional or semiprofessional
  712110 - Museums
      This industry comprises establishments primarily engaged in the preservation and exhibition of
      objects of historical, cultural, and/or educational value.
                  Art galleries (except retail)
                  Art museums
                  Community museums
                  Contemporary art museums
                  Decorative art museums
                  Fine arts museums
                  Galleries, art (except retail)
                  Halls of fame
                  Herbariums
                  Historical museums
                  Human history museums
                  Interactive museums
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                  Marine museums
                  Military museums
                  Mobile museums
                  Multidisciplinary museums
                  Museums
                  Natural history museums
                  Natural science museums
                  Observatories (except research institutions)
                  Planetariums
                  Science and technology museums
                  Sports halls of fame
                  Traveling museum exhibits
                  War museums
                  Wax museums
  712120 - Historical Sites
      This industry comprises establishments primarily engaged in the preservation and exhibition of
      sites, buildings, forts, or communities that describe events or persons of particular historical
      interest. Archeological sites, battlefields, historical ships, and pioneer villages are included in this
      industry.
                  Archeological sites (i.e., public display)
                  Battlefields
                  Heritage villages
                  Historical forts
                  Historical ships
                  Historical sites
                  Pioneer villages
  712130 - Zoos and Botanical Gardens
      This industry comprises establishments primarily engaged in the preservation and exhibition of
      live plant and animal life displays.
                  Animal exhibits, live
                  Animal safari parks
                  Aquariums
                  Arboreta
                  Arboretums
                  Aviaries
                  Botanical gardens
                  Conservatories, botanical
                  Gardens, zoological or botanical
                  Menageries
                  Parks, wild animal
                  Petting zoos
                  Reptile exhibits, live
                  Wild animal parks
                  Zoological gardens
                  Zoos
  712190 - Nature Parks and Other Similar Institutions
      This industry comprises establishments primarily engaged in the preservation and exhibition of
      natural areas or settings.
                  Bird sanctuaries
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                   Caverns (i.e., natural wonder tourist attractions)
                   Conservation areas
                   Interpretive centers, nature
                   National parks
                   Natural wonder tourist attractions (e.g., caverns, waterfalls)
                   Nature centers
                   Nature parks
                   Nature preserves
                   Nature reserves
                   Parks, national
                   Parks, nature
                   Provincial parks
                   Waterfalls (i.e., natural wonder tourist attractions)
                   Wildlife sanctuaries
  713110 - Amusement and Theme Parks
      This industry comprises establishments, known as amusement or theme parks, primarily
      engaged in operating a variety of attractions, such as mechanical rides, water rides, games,
      shows, theme exhibits, refreshment stands, and picnic grounds. These establishments may lease
      space to others on a concession basis.
                   Amusement parks (e.g., theme, water)
                   Parks (e.g., theme, water), amusement
                   Piers, amusement
                   Theme parks, amusement
                   Water parks, amusement
  713120 - Amusement Arcades
      This industry comprises establishments primarily engaged in operating amusement (except
      gambling, billiard, or pool) arcades and parlors.
                   Amusement arcades
                   Amusement device (except gambling) parlors, coin-operated
                   Amusement devices (except gambling) operated in own facilities
                   Arcades, amusement
                   Electronic game arcades
                   Family fun centers
                   Indoor play areas
                   Pinball arcades
                   Video game arcades (except gambling)
  713910 - Golf Courses and Country Clubs
      This industry comprises (1) establishments primarily engaged in operating golf courses (except
      miniature) and (2) establishments primarily engaged in operating golf courses, along with dining
      facilities and other recreational facilities that are known as country clubs. These establishments
      often provide food and beverage services, equipment rental services, and golf instruction
      services.
                   Country clubs
                   Golf and country clubs
                   Golf courses (except miniature, pitch-n-putt)




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  713990 - All Other Amusement and Recreation Industries
      This industry comprises establishments (except amusement parks and arcades; gambling
      industries; golf courses and country clubs; skiing facilities; marinas; fitness and recreational
      sports centers; and bowling centers) primarily engaged in providing recreational and amusement
      services.
                 Amateur sports teams, recreational
                 Amusement device (except gambling) concession operators (i.e., supplying and
                 servicing in others' facilities)
                 Amusement ride concession operators (i.e., supplying and servicing in others'
                 facilities)
                 Archery ranges
                 Athletic clubs (i.e., sports teams) not operating sports facilities, recreational
                 Aviation clubs, recreational
                 Ballrooms
                 Baseball clubs, recreational
                 Basketball clubs, recreational
                 Bathing beaches
                 Beach clubs, recreational
                 Beaches, bathing
                 Billiard parlors
                 Billiard rooms
                 Boating clubs without marinas
                 Boccie ball courts
                 Bowling leagues or teams, recreational
                 Boxing clubs, recreational
                 Boys' day camps (except instructional)
                 Bridge clubs, recreational
                 Camps (except instructional), day
                 Canoeing, recreational

                 Carnival ride concession operators (i.e., supplying and servicing in others' facilities)
                 Coin-operated nongambling amusement device concession operators (i.e., supplying
                 and servicing in others' facilities)
                 Concession operators, amusement device (except gambling) and ride
                 Curling facilities
                 Dance halls
                 Discotheques (except those serving alcoholic beverages)
                 Driving ranges, golf
                 Fireworks display services
                 Fishing clubs, recreational
                 Fishing guide services
                 Fishing piers
                 Flying clubs, recreational
                 Football clubs, recreational
                 Galleries, shooting
                 Girls' day camps (except instructional)
                 Gocart raceways (i.e., amusement rides)
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             Gocart tracks (i.e., amusement rides)
             Golf courses, miniature
             Golf courses, pitch-n-putt
             Golf driving ranges
             Golf practice ranges
             Guide services (i.e., fishing, hunting, tourist)
             Guide services, fishing
             Guide services, hunting
             Guide services, tourist
             Gun clubs, recreational
             Hockey clubs, recreational
             Hockey teams, recreational
             Horse rental services, recreational saddle
             Horseback riding, recreational
             Hunting clubs, recreational
             Hunting guide services
             Ice hockey clubs, recreational
             Jukebox concession operators (i.e., supplying and servicing in others' facilities)
             Kayaking, recreational
             Lawn bowling clubs
             Miniature golf courses
             Mountain hiking, recreational
             Nightclubs without alcoholic beverages
             Nudist camps without accommodations
             Observation towers
             Outdoor adventure operations (e.g., white water rafting) without accommodations
             Pack trains (i.e., trail riding), recreational
             Para sailing, recreational
             Picnic grounds
             Pinball machine concession operators (i.e., supplying and servicing in others' facilities)
             Ping pong parlors
             Pool halls
             Pool parlors
             Pool rooms
             Racetracks, slot car (i.e., amusement devices)
             Raceways, gocart (i.e., amusement rides)
             Recreational camps without accommodations
             Recreational day camps (except instructional)
             Recreational sports clubs (i.e., sports teams) not operating sports facilities
             Recreational sports teams and leagues
             Riding clubs, recreational
             Riding stables
             Rifle clubs, recreational
             River rafting, recreational
             Rowing clubs, recreational
             Saddle horse rental services, recreational
             Sailing clubs without marinas
             Sea kayaking, recreational

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                   Shooting clubs, recreational
                   Shooting galleries
                   Shooting ranges
                   Skeet shooting facilities
                   Slot car racetracks (i.e., amusement devices)
                   Snowmobiling, recreational
                   Soccer clubs, recreational
                   Sports clubs (i.e., sports teams) not operating sports facilities, recreational
                   Sports teams and leagues, recreational or youth
                   Stables, riding
                   Summer day camps (except instructional)
                   Tourist guide services
                   Trail riding, recreational
                   Trampoline facilities, recreational
                   Trapshooting facilities, recreational
                   Waterslides (i.e., amusement rides)
                   White water rafting, recreational
                   Yacht clubs without marinas
                   Youth sports leagues or teams
  721110 - Hotels (except Casino Hotels) and Motels
      This industry comprises establishments primarily engaged in providing short-term lodging in
      facilities known as hotels, motor hotels, resort hotels, and motels. The establishments in this
      industry may offer food and beverage services, recreational services, conference rooms and
      convention services, laundry services, parking, and other services.
                   Alpine skiing facilities with accommodations (i.e., ski resort)
                   Auto courts, lodging
                   Automobile courts, lodging
                   Health spas (i.e., physical fitness facilities) with accommodations
                   Hotel management services (i.e., providing management and operating staff to run
                   hotel)
                   Hotels (except casino hotels)
                   Hotels (except casino hotels) with golf courses, tennis courts, and/or other health spa
                   facilities (i.e., resorts)
                   Hotels, membership
                   Hotels, resort, without casinos
                   Hotels, seasonal, without casinos
                   Membership hotels
                   Motels
                   Motor courts
                   Motor hotels without casinos
                   Motor inns
                   Motor lodges
                   Resort hotels without casinos
                   Seasonal hotels without casinos
                   Ski lodges and resorts with accommodations
                   Summer resort hotels without casinos
                   Tourist lodges



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  721191 - Bed-and-Breakfast Inns
      This U.S. industry comprises establishments primarily engaged in providing short-term lodging in
      facilities known as bed-and-breakfast inns. These establishments provide short-term lodging in
      private homes or small buildings converted for this purpose. Bed-and-breakfast inns are
      characterized by a highly personalized service and inclusion of a full breakfast in a room rate.
                   Bed and breakfast inns
                   Inns, bed and breakfast
  721199 - All Other Traveler Accommodation
      This U.S. industry comprises establishments primarily engaged in providing short-term lodging
      (except hotels, motels, casino hotels, and bed-and-breakfast inns).
                   Cabins, housekeeping
                   Cottages, housekeeping
                   Guest houses
                   Hostels
                   Housekeeping cabins
                   Housekeeping cottages
                   Tourist homes
                   Youth hostels
  721211 - RV (Recreational Vehicle) Parks and Campgrounds
      This U.S. industry comprises establishments primarily engaged in operating sites to
      accommodate campers and their equipment, including tents, tent trailers, travel trailers, and RVs
      (recreational vehicles). These establishments may provide access to facilities, such as
      washrooms, laundry rooms, recreation halls and playgrounds, stores, and snack bars.
                   Campgrounds
                   Recreational vehicle parks
                   RV (recreational vehicle) parks
                   Travel trailer campsites
  721214 - Recreational and Vacation Camps (except Campgrounds)
      This U.S. industry comprises establishments primarily engaged in operating overnight
      recreational camps, such as children's camps, family vacation camps, hunting and fishing camps,
      and outdoor adventure retreats that offer trail riding, white-water rafting, hiking, and similar
      activities. These establishments provide accommodation facilities, such as cabins and fixed
      campsites, and other amenities, such as food services, recreational facilities and equipment, and
      organized recreational activities.
                  Boys' camps (except day, instructional)
                  Camps (except day, instructional)
                  Children's camps (except day, instructional)
                  Dude ranches
                  Fishing camps with accommodation facilities
                  Girls' camps (except day, instructional)
                  Guest ranches with accommodation facilities
                  Hunting camps with accommodation facilities
                  Nudist camps with accommodation facilities
                  Outdoor adventure retreats with accommodation facilities
                  Recreational camps with accommodation facilities (except campgrounds)
                  Summer camps (except day, instructional)
                  Trail riding camps with accommodation facilities
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                  Vacation camps (except campgrounds, day instructional)
                  Wilderness camps
  721310 - Rooming and Boarding Houses
      This industry comprises establishments primarily engaged in operating rooming and boarding
      houses and similar facilities, such as fraternity houses, sorority houses, off-campus dormitories,
      residential clubs, and workers' camps. These establishments provide temporary or longer-term
      accommodations which, for the period of occupancy, may serve as a principal residence. These
      establishments also may provide complementary services, such as housekeeping, meals, and
      laundry services.
                  Boarding houses
                  Clubs, residential
                  Dormitories, off campus
                  Fraternity houses
                  Migrant workers' camps
                  Off campus dormitories
                  Residence clubs, organizational
                  Residential clubs
                  Rooming and boarding houses
                  Sorority houses
                  Workers' camps
                  Workers' dormitories
  722110 - Full-Service Restaurants
      This industry comprises establishments primarily engaged in providing food services to patrons
      who order and are served while seated (i.e. waiter/waitress service) and pay after eating. These
      establishments may provide this type of food services to patrons in combination with selling
      alcoholic beverages, providing carry out services, or presenting live nontheatrical entertainment.
                  Bagel shops, full service
                  Diners, full service
                  Doughnut shops, full service
                  Family restaurants, full service
                  Fine dining restaurants, full service
                  Full service restaurants
                  Pizza parlors, full service
                  Pizzerias, full service
                  Restaurants, full service
                  Steak houses, full service
  722211 - Limited-Service Restaurants
      This U.S. industry comprises establishments primarily engaged in providing food services (except
      snack and nonalcoholic beverage bars) where patrons generally order or select items and pay
      before eating. Food and drink may be consumed on premises, taken out, or delivered to the
      customer's location. Some establishments in this industry may provide these food services in
      combination with selling alcoholic beverages.
                  Carryout restaurants
                  Delicatessen restaurants
                  Drive-in restaurants
                  Family restaurants, limited-service
                  Fast-food restaurants
                  Pizza delivery shops
                  Pizza parlors, limited-service

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                  Pizzerias, limited-service (e.g., take-out)
                  Restaurants, carryout
                  Restaurants, fast food
                  Sandwich shops, limited-service
                  Steak houses, limited-service
                  Take out eating places
  722213 - Snack and Nonalcoholic Beverage Bars
      This U.S. industry comprises establishments primarily engaged in (1) preparing and/or serving a
      specialty snack, such as ice cream, frozen yogurt, cookies, or popcorn or (2) serving nonalcoholic
      beverages, such as coffee, juices, or sodas for consumption on or near the premises. These
      establishments may carry and sell a combination of snack, nonalcoholic beverage, and other
      related products (e.g., coffee beans, mugs, coffee makers) but generally promote and sell a
      unique snack or nonalcoholic beverage.
                  Bagel shops, on premise baking and carryout service
                  Beverage (e.g., coffee, juice, soft drink) bars, nonalcoholic, fixed location
                  Canteens, fixed location
                  Coffee shops, on premise brewing
                  Confectionery snack shops, made on premises with carryout services
                  Cookie shops, on premise baking and carryout service
                  Doughnut shops, on premise baking and carryout service
                  Fixed location refreshment stands
                  Frozen custard stands, fixed location
                  Ice cream parlors
                  Pretzel shops, on premise baking and carryout service
                  Snack bars (e.g., cookies, popcorn, pretzels), fixed location
                  Soft drink beverage bars, nonalcoholic, fixed location
  722310 - Food Service Contractors
      This industry comprises establishments primarily engaged in providing food services at
      institutional, governmental, commercial, or industrial locations of others based on contractual
      arrangements with these type of organizations for a specified period of time. The establishments
      of this industry provide food services for the convenience of the contracting organization or the
      contracting organization's customers. The contractual arrangement of these establishments with
      contracting organizations may vary from type of facility operated (e.g., cafeteria, restaurant,
      fast-food eating place), revenue sharing, cost structure, to providing personnel. Management
      staff is always provided by the food service contractors.
                  Airline food services contractors
                  Cafeteria food services contractors (e.g., government office cafeterias, hospital
                  cafeterias, school cafeterias)
                  Food concession contractors (e.g., convention facilities, entertainment facilities,
                  sporting facilities)
                  Food service contractors, airline
                  Food service contractors, cafeteria
                  Food service contractors, concession operator (e.g., convention facilities,
                  entertainment facilities, sporting facilities)
                  Industrial caterers (i.e., providing food services on a contractural arrangement (except
                  single-event basis))




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  722410 - Drinking Places (Alcoholic Beverages)
      This industry comprises establishments known as bars, taverns, nightclubs, or drinking places
      primarily engaged in preparing and serving alcoholic beverages for immediate consumption.
      These establishments may also provide limited food services.
                  Alcoholic beverage drinking places
                  Bars (i.e., drinking places), alcoholic beverage
                  Cocktail lounges
                  Drinking places (i.e., bars, lounges, taverns), alcoholic
                  Lounges, cocktail
                  Nightclubs, alcoholic beverage
                  Taverns (i.e., drinking places)




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